Case 3:24-cv-00671-ZNQ-RLS Document 57 Filed 07/26/24 Page 1 of 2 PageID: 575
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                                            July 25, 2024


Via ECF

The Honorable Zahid N. Quraishi
United States District Court
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

Re:    Lewandowski v. Johnson & Johnson, et al., No. 3:24-cv-00671-ZNQ-RLS (D.N.J.)

Dear Judge Quraishi:

        We represent Defendants in the above captioned matter. Presently, Defendants must file their
reply brief in further support of the motion to dismiss the first amended class action complaint by July
29, 2024. Defendants respectfully request a 14-day extension, such that their reply brief shall be filed
by August 12, 2024. Defendants request this extension to allow adequate time for preparation of their
reply in light of defense counsel’s other commitments in late July and early August, which include
preparation for depositions, upcoming discovery deadlines in other matters, and pre-planned travel as
well as the need to build in adequate time for client review. Plaintiff opposes Defendants’ request for
a 14-day extension, but would not oppose an extension of 7 days.

        If Defendants’ request for a 14-day extension meets with Your Honor’s approval, we
respectfully request that the Court endorse this letter on the “SO ORDERED” line below and enter
it on the docket.

       We thank Your Honor for your consideration of this matter.

                                                       Respectfully submitted,

                                                       /s/ Jeffrey S. Chiesa
                                                       Jeffrey S. Chiesa




                                                     NEW JERSEY               NEW YORK
Case 3:24-cv-00671-ZNQ-RLS Document 57 Filed 07/26/24 Page 2 of 2 PageID: 576


The Honorable Zahid N. Quraishi
July 25, 2024
Page 2


SO ORDERED:



                                  7/26/2024
By: _________________________________
      Zahid N. Quraishi, U.S.D.J.


CC:   All counsel of record (via ECF)
